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UN|TED STATES D|STR|CT COURT
SOUTHERN D|STR|CT OF TEXAS

PLANTIFF DEFENDANTS

Trudy Sawyer Geico |nsurance Company, et. Al

C|V|L LAWSU|T COMPLA|NT

Trudy Sawyer, plaintiff, had an insurance policy with Geico lnsurance as of March 13, 2015
when bugs were discovered in her car, Mazda 2014. As plaintiff continued to drive home the
next morning, March 14, 2015, she was being bitten constant|y; on back of the neck, the arm,
the eye and on the face. She unloaded the car after getting home and went to buy pest control
products. While believing that this would solve the problem ; the bugs had gotten in the
appliances in the car, clothes and since those things were taken into the house, the bugs began
to multip|y. She kept going to buy products, washing clothes, eating out and buying medical
products to heal the scars and bits; none of the products stopped the bugs. She had a friend to
call Geico while she was on the phone, Wi||iam Lehnert answered and said that she needed to
go to the doctor and saved the doctor bills and that they would pay her from missing work.
After 2 visits to emergency room and two visits to the clinic and over $7,000.00 spent for plastic
bags, washing, gas, laundry products, hotel, medical aides; all bills going into bankruptcy, loss of
apartment, loss friends, confinement, bugs in clothes, shoes, purses, coats, furniture, wearing
plastic on head because bugs bit into scalp breaking the hair off, changing clothes on the porch
to prevent more bugs from coming into the house, sleeping in the bathtub wrapped in plastic
from head to toe to prevent from being bitten; being mocked by family and friends and Geico
lnsurance Representative, William Lehnert; being penniless and pleading with Geico to help
they discriminated against me; they did not give me the service to prevent such a reckless
state. l have asked Jeremy to help me find an exterminath in my area, he never did call back;
when l found one it was about 800 miles away, he refused to help. All of the receipts that | was
sending to Jeremy, he allowed for them to be removed from his emails instead of forwarding
them to William; Wi||iam would not give me his emails because he didn't want to help me; he
proved it when he laughed and said that l had a bug infestation. This behavior continued for
about six months.

After contacting the Attorney General in St Louis Mo, l had no he|p; l waited month after
month for a response; finally when l made a desperate call and asked Backus when was l going
to get help, l received and emai| stating that l needed to pay an attorney for service and my

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case was closed. Afterwards, Geico gave back the $150.00 that l paid Americare to exterminate
car but l never got not near the over $7,000.00, no back wages and no medical payments.

My life has been so wrecked, l can't tell you the miserab|e months l have had. lt gotten
to the point where my son couldn't pay both insurance bills so we lost our insurance at Geico; l
believe that this is why Geico kept stalling so that they didn't have to renew the insurance; they
did increase the insurance rate while l was still a client of theirs.

Geico has tones of pictures that they ignored where l was bitten on the face and other
areas. l told them that l could not drive the car because the bugs would fly directly to my eyes
and bite my eyes, ears and face and ha ng on my hair and bite my neck continuous|y.

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